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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA



UNITED STATES OF AMERICA               )                CR. No.: 3:10-112-JFA
                                       )
      v.                               )                       ORDER
                                       )
PATRICK LEWIS PARKS                    )
_______________________________________)

       The defendant, through counsel, has filed a motion to vacate or correct his sentence

pursuant to 28 U.S.C. § 2255. The government is respectfully requested to respond to this

motion at its earliest convenience.

       IT IS SO ORDERED.



                                                 Joseph F. Anderson, Jr.
                                                 United States District Judge
January 18, 2013
Columbia, South Carolina
